                                                                                                     CoreCivic Orientation and Custody Schedule
                                                                                              Trousdale Turner Correctional Center Training Schedule 2017
       ___...•                                                                                                                                                                                                                       Week
Day              Monday                                 Tuesday                                          Wednesday                                  Thursday                        Friday
Date
         7:30                     TOMIS                              Orientation Exam                                Basic Writing Skills"                     Use of Restraints                  Security Policy Review
         7:45                  TD00000008                         (Includes spelling test)                               CCS0000157                               CCS000139                             CCS0000109
         8:00                     1 hour                                CORE000030                                          1 hour                                  4 hours                                 2 hours
         8:15                                                               1 hour
         8:30                     Title VI                           Logbook Entires'                                 Incident Reports"
         8:45                  TD00000006                                   1 hour                                       CCS0000158
         9:00                     1 hour                                CCS0000076                                         2 hours
         9:15
         9:30         Illegal Drugs & Substance Abuse                       Audits                                                                                                                     I/M Handbook

         9:45                  CCS0000061                               CCS0000009                                                                                                                      CCS0000070

       10:00                     2 hours                                    1 hour                                                                                                                          1 hour

       10:15
        10:30                                                       Count Observation                                Disciplinary Reports"                                                              Post Orders
                                                                  (Schedule during count)                                CCS0000160                                                                     CCS0000090
        10:45
        11:00                                                           CCS0000031                                          1 hour                                                                          1 hour

        11:15                                                              1 hour/                                           Giles
                            Stress Mana gement                      Unit Management &                                Crime Scene/Evidence                      Inflammatory Agent                   Suicide Precaution
        11:30
                               CORE000039                            Direct Supervision                           (Includes chain of custody)                     CCS0000062                            Observation
        11:45
                                  1 hour                                CCS0000131                                        CCS000033                                 4 hours                             CCS0000139
        12:00
                                                                           4 hours                                          1hour/                                                                         3 hours
        12:15
        12:30                     EEBA                                                                                Inmate Grievance"
        12:45                 TD00000001                                                                                 CCS0000159
        13:00                     2 hours                                                                                   1 hour
        13:15
        13:30                                                                                                          Security Systems
        13:45                                                                                                            CCS0000110
        14:00                                                                                                               2 hours

        14:15
                                                                                                                                                                                                   OJT Assignments"'
        14:30                Count Procedures
                                                                                                                                                                                                         CCS0000162
        14:45                  CCS0000032
                                                                                                                                                                                                            1 hour
        15:00                     1 hour
        15:15
        15:30
        15:45
        16:00                                                                                                                                                                       _
          4 45                                                                                                                                     -
          5:00                                                                                                                                                                                  •.naiict h. tem•191• in curraccinn
                                                                  First class of custody training
                                                                                                                                                                                    ***Must be taught in second week




                                                                                                                                                                                                                                            Orientation & Custody Template




                                             Case 3:22-cv-00093 Document 33-21 Filed 05/04/22 Page 1 of 40 PageID #: 2612                                                                                                       CCI 000929
                                                                           CoreCivic Orientation and Custody Schedule
                                                                    Trousdale Turner Correctional Center Training Schedule 2017
Ctatiou!Snot Custod                                                                                                                                                                      Week 3
Day           Monday                      Tuesday                             Wednesday                                   Thursday                                Friday
Date
      7:30             PPCT (Part 1)                PPCT (Part 1)                          Search Procedures                      Communication & De-escalation               OJT
      7:45             CCS0000091                   CCS0000091                         (Includes 4 hours practical)                        Techniques                      CORE000027
      8:00               8 hours                      8 hours                                 CCS0000105                                  CCS0000025                         8 hours
      8:15                                                                                       8 hours                                     8 hours
      8:30
      8:45
      9:00
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     15:00
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     15:30
     15:45
     16:00
      4:45
       5:00




                                                                                                                                                                                                  Orientation & Custody Template




                                    Case 3:22-cv-00093 Document 33-21 Filed 05/04/22 Page 2 of 40 PageID #: 2613                                                                        CCI 000930
                                                                                                    CoreCivic Orientation and Custody Schedule
                                                                                             Trousdale Turner Correctional Center Training Schedule 2017
                          •                                                                                                                                                                       Week 4
Day             Monday     .                               Tuesday.                                    Wednesday                                  'Thursday                Friday
Date
        7:30                  Use of Medical Restraints    Firearms Care Safety 8 Handling                            Intro to LMS                               OJT                   OJT
        7:45                        CCS0000138                            TD0000010                                   CORE000022                              CORE000027            CORE000027
        8:00                          2 hours                               8 hours                                        0.5 /                                8 hours               8 hours
        8:15                                                                                                       Fit Testing @ 0800
        8:30                                                                                                          CORE000049
        8:45                                                                                                             1 hour
        9:00
        9:15
        9:30              Crisis Communication/ ERT                                                                   Use of Force
        9:45             (video camera, radio/telephone)                                                              C.C.S0000134
       10:00                        CCS0000035                                                                           1 hour
       10:15                          3 hours
       10:30                                                                                                    TDOC Fire Arms Policy
       10:45                                                                                                          TD00000002
       11:00                                                                                                              3 hours
       11:15
       11:30
       11:45j                                                                                          1
       12:00
       12:15
       12:30                     Use of Force Part 2
       12:45                        CCS0000135
       13:004                          2 hours                                                                     TDOC .38 Revolver
       13:15                                                                                                          TD00000003
       13:30                                                                                                            1.5 hours
       13:45
       14:00
       14:15
       14:30             Correctional Officer Subculture                                                       TDOC 12 Gauge Shotgun
       14:45                        CCS0000030                                                                        TD00000005
       15:00                            1hour                                                                             1 hour
       15:15
       15:30
       15:45
       16:00
         4•45
         5.00




                                                                                                                                                                                                           Orientation & Custody Template




                                                 Case 3:22-cv-00093 Document 33-21 Filed 05/04/22 Page 3 of 40 PageID #: 2614                                                                    CCI 000931
                                                                       CoreCivic Orientation and Custody Schedule
                                                                Trousdale Turner Correctional Center Training Schedule 2017
currkurico: Colo                                                                                                                                                                                  Week 5
Day          Monday                     Tuesday                            Wednesday                                  Thursday                               Friday
Date
      7:30               OJT                         OJT                                 UM Rexcreation                          Transportation of Inmates                   Visitation
      7:45            CORE000027                  CO43E000027                              CCS0000067                                  CCS6000125                           CCS0000069
      8:00              8 hours                     8 hours                                   1hour                                      4 hours                               1hour
      8:15
      8:30                                                                                Cell Inspection                                                                   True Colors
      8:45                                                                                 CCS0000019                                                                       CORE600013
      9:00                                                                                    1 hour                                                                          4 hours
      9:15
      9:30                                                                                 Teambuilding
      9:45                                                                                 CORE000040
     10:00                                                                                   2 hours
     10:15
     10:30
     10:45
     11:00
     11:15
     11:30                                                                                UM Movement                              Management of 5pedal
     11:45                                                                                 CCS6000066                                   Populations
     12:00                                                                                    1 hour                                    Ct5::00C2 GI
     12:15                                                                                                                               2 hours
     12:30                                                                             Security Threat Group                                                          Basic Training Final Exam
     12:45                                                                                 CCS0000111                                                                       CCS0000011
     13:00                                                                                   3 hours                                                                          2 hours
     13:15
     13:30                                                                                                                        Restrictive Housing &
     13:45                                                                                                                       Special Management Units
     14:00                                                                                                                             CCS0006104
     14:15                                                                                                                               2 hours
     14:30                                                                                                                                                                   Graduation

     14:45                                                                                                                                                                  0050000163

     15:00                                                                                                                                                                     1 hour

     15:15
     15:30




                                                                                                                                                                                                           Orientation & Custody Template




                                  Case 3:22-cv-00093 Document 33-21 Filed 05/04/22 Page 4 of 40 PageID #: 2615                                                                                CCI 000932
     ..~~..


   f»
                              CONTRACT
                              (fee-for-service contract with a federal or Tennessee local or quasi-governmental entity)
    .                  .
         •
                  '
   Begin Date                             End Date                      Agency Tracking #             Edison Record ID

                                               5 years following
               Service                                   Service
     Commencement Date                      Commencement Date                       32904-20240                           41701
   Contractor Legal Entity Name                                                                       Edison Vendor ID

        Trousdale County                                                                                                   2537
   Subrecipient or Vendor                             CFDA#

        D Subrecipient             ~Vendor               NIA
   Service Caption (one line only)

        Operation of a Prison
   Funding-

   FY                 State                   Federal           Interdepartmental    Other               TOTAL Contract Amount


             16            $10,344,900.00                                                                        $10,344,900.00

             17             55,261,000.00                                                                         55,261,000.00

             18             56,847,900.00                                                                         56,847,900.00

             19             58,264,300.00                                                                         58,264,300 .00

          20                59,885,100.00                                                                         59,885,100.00

             21             35,686,900.00                                                                         35,686,900.00

    TOTAL:            $276,290,100.00                                                                         $276,290,100.00

   American Recovery and Reinvestment Act (ARRA) Funding:                     DYES        ~NO
   Budget Officer Confirmation: There is a balance in the                                      OCR USE- GU
   appropriation from which obligations hereunder are required to
   be paid that is not already encumbered to pay other
   obligations.



                              ~QPvJvl
   Speed Chart (optional)                   Account Code (optional)




                                                               CCI 000933
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                                               CONTRACT
                                     BETWEEN THE STATE OF TENNESSEE,
                                        DEPARTMENT OF CORRECTION
                                                  AND
                                      TROUSDALE COUNTY, TENNESSEE

             This Contract, by and between the State of Tennessee, DEPARTMENT OF CORRECTION,
     hereinafter referred to as the 'State" and TROUSDALE COUNTY, TENNESSEE, hereinafter referred to
     as the "County" or "Contractor," is for the provision of OPERATING A PRISON, as further defined in the
     "SCOPE OF SERVICES."

     Contractor Edison Registration ID# ~·

               WHEREAS, Trousdale County has the ability to make beds available to the State in a
     correctional facility, hereinafter referred to as the Trousdale County Correctional Facility (TCCF), or the
     Facility, and in which Trousdale County may arrange to house and provide programing for Inmates:

             WHEREAS, Trousdale County desires to enter into this contract to reserve, keep and maintain
     up to one hundred percent (100%) of the available beds for the State;

               WHEREAS, the State desires to enter into this contract with Trousdale County to house at the
     Facility, pursuant to the terms of this Contract, felons (hereinafter "Inmates") sentenced to the care,
     custody and control of the Tennessee Department of Correction (the "Department");

             WHEREAS, the State agrees to compensate the County as indicated below for reasonable
     allowable costs as defined by the contract associated with the housing of Inmates and the operation and
     management of the Facility; and

             WHEREAS, the State is authorized to enter into agreements with local governments to house
     State prisoners.

             NOW, THEREFORE, in consideration of the mutual promises and covenants contained herein,
     the State and Trousdale County hereby agree as follows:

     A.      SCOPE OF SERVICES:

     A.1 .   The Contractor shall provide all service and deliverables as required, described, and detailed
             herein and shall meet all service and delivery timelines as specified by this Contract.

     A.2.    DEFINITIONS:

             a.   ACA- means the American Correctional Association .

             b. ACA Standards - means the Standards for Adults Correctional Institutions, Fourth Edition,
                as the same may be modified, amended, or supplemented now or In the future, published by
                ACA.

             c.   Commissioner- means the Commissioner of the Tennessee Department of Correction.

             d.   Contract - means this Document, together with all written attachments, appendices,
                  exhibits, amendments and modifications.

             e.   Contract Liaison - means a person or persons appointed and paid by the State to monitor
                  for the State the implementation of this Contract and/or to act as the Commissioner's
                  designee. The Contract Liaison will also be the official liaison between the State and
                  Contractor on matters pertaining to the proper operation, maintenance and management
                  services of the Facility and may perform other functions described In Department policies, or
                  otherwise provided by the Commissioner, in writing.




                                                               CCI 000934
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          f.   Court Orders - means any orders, judgments or opinions issued by a court of competent
               jurisdiction or any stipulations, agreements or plans entered into in connection with litigation
               that are applicable to the proper operation, maintenance and management services of the
               Facility or relate to the care and custody of Inmates of the Facility, whether currently existing
               or as may be rendered in the future.

          g.   Department- means the Tennessee Department of Correction (TDOC).

          h.   Document- means this document with attached appendices.

               Effective Date of the Contract - means the date the Contract is approved by the appropriate
               State officials in accordance with applicable Tennessee State laws and regulations.

          j.   Facility - means the medium security correctional institution located in Trousdale County,
               Tennessee, including adjacent real property described in Appendix A known as the
               Trousdale County Correctional Center.

          k.   Indigent Inmates - means Inmates who are deemed indigent as defined by Department
               Policy found in Appendix C.

          I.   Inmate - means any male felony offender sentenced to the Department and assigned to the
               Facility by the Department.

          m. Inmate Day - means each calendar day or part thereof that an Inmate is located at the
             Facility, including the first, but not the last day of Incarceration at the Facility.

          n.   Local Area - means Trousdale County, the contiguous counties of Macon, Sumner, Wilson,
               Smith and Jackson and the counties of Davidson, Williamson and Rutherford in Tennessee.

          o.   Per Diem Rate- means cost per Inmate, per Inmate Day.

          p.   Partial Takeover- means the State's discretionary assumption of a portion of the services to
               be rendered by the Contractor under this Contract not resulting from Contractor's failure to
               perform.

          q.   Policy Directive (aka Policy/Policies) - means formal statement of the State's correctional
               policy on a given subject. All Policy Directives shall not conflict with administrative rules or
               statutes or applicable American Correctional Association Standards.

          r.   PREA- Federal Prison Rape Elimination Act

          s. Service Commencement Date- means the date that is 18 months after the Effective Date of
             the Contract.

          t.   Standards - means the standards to which Contractor's performance under this Contract
               must conform pursuant to Section A.3.b.11 of the Contract.

          u.   State- means the State of Tennessee, including but not limited to the Department.

          v.   TOMIS CeTOMIS) - means the Tennessee Offender Management Information System, a
               mainframe computer system that automates the management of information about offenders
               under the supervision of the Tennessee Department of Correction. TOMIS captures all
               offender related information at the point of origin to provide accurate and timely information
               to those who use it.

          w. TRICOR- means the Tennessee Rehabilitative Initiative in Correction.



                                                                                                              2




                                                               CCI 000935
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     A.3.   DESCRIPTION OF SERVICES:

            a.    MAINTENANCE

                  1.    Maintenance

                        Trousdale County shall implement a plan, including a preventive maintenance
                        program, to maintain the Facility and all property contained therein.

                        Trousdale County shall provide for maintenance, repair, and replacement for the
                        Facility and shall keep said Facility in good repair, working order and condition,
                        subject to normal wear and tear. Trousdale County shall be responsible for all
                        expenses incurred in said maintenance, repair and replacement.

                  2.    Utilities and Taxes

                        Trousdale County shall pay all taxes associated with this Contract and utility
                        costs of the Facility, including, but not limited to, water, gas, sewage, waste and
                        trash removal, and electric.

                  3.    Property Insurance

                        Trousdale County shall obtain and keep in force casualty insurance on the
                        Facility and on all property to be located at the Facility.

            b.    CONTRACT MONITORING

                  1.    Monitoring and Evaluation

                        The State has the right and authority under this Contract to monitor Trousdale
                        County's performance hereunder. Such monitoring shall include but not be
                        limited to observing and reporting on the day-to-day operational performance of
                        Trousdale County regarding compliance with all terms and conditions of this
                        Contract. Such monitoring or failure to monitor shall not relieve Trousdale
                        County of its responsibility, obligation and liability under this Contract.

                        The State, shall develop reporting requirements for Trousdale County that shall
                        include but not be limited to weekly, monthly, and/or quarterly reports on the
                        following subjects: Inmate jobs and education, incident reports, disciplinary
                        reports, Inmate grievances, staff turnover and vacancies, staff training,
                        employee grievances, employee discipline, health care access, reclassifications,
                        transfers, furloughs, releases, media contacts, lawsuits, volunteers, drug audits,
                        cell searches, visitation, and maintenance. Also, an emergency reporting
                        process shall be established that shall address, at a minimum, segregation of
                        Inmates, use of force, and incidents which involve substantial risk to property,
                        life, or institutional security.

                        Trousdale County agrees to cooperate with the State, including any
                        representatives of the State, in the Contract monitoring effort of the State
                        through such means as may be requested from time to time, including, but not
                        limited to the reporting of information as requested. The State and Trousdale
                        County agree that the information collecting and monitoring processes
                        described in this Contract shall be in accordance with the policies and
                        procedures of the Tennessee Department of Correction.

                        Trousdale County shall maintain for the State data in accordance with the
                        Standards to include use of and data entry on TOMIS or any replacement
                        system designated by the State ..

                                                                                                         3




                                                               CCI 000936
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               2.   Liaison

                    The State shall provide Liaison(s} to be located at the Facility. The Liaison(s)
                    will be an employee(s) of the Department and will be paid by the Department.
                    The Contractor, however, shall reimburse the State for the cost incurred by the
                    State, Including salary and benefits, for up to two full-time on-site Liaisons.
                    Trousdale County shall have no control over the activities of the Liaison(s),
                    supervisory or otherwise.

                    The Liaison(s) shall be the representative of the State at the Facility to monitor
                    Trousdale County's compliance with the Contract. The Commissioner may also
                    appoint the Liaison to act as his designee. The Liaison may also have functions
                    described in Department policies. The Liaison may have other functions as
                    provided by the Commissioner in writing.

                    Unless otherwise specified by the Commissioner, in writing, the Liaison(s) shall
                    be the designated recipient of all information required of Trousdale County.
                    Trousdale County shall be notified of the identity of any Contract Liaison, in
                    writing, signed by the Commissioner.

                    The individual(s) acting as Liaison(s) may be changed during the term of the
                    Contract, at the discretion of the Commissioner.

                    The State hereby expressly disclaims that the Liaison or any other state
                    employee or official has any authority, apparent or otherwise, to bind the State
                    under this Contract unless expressly stated herein; provided, however, that the
                    Commissioner shall have the same authority granted any state employee under
                    this Contract and the Commissioner retains authority over the Inmates which
                    may not be delegated at law.

                    In addition to the Liaison(s) employed by the Department, the State may monitor
                    the Contract through other representatives of State as it deems appropriate.
                    Such representative(s) shall have the same right of access to information, the
                    facility, Inmates, and Trousdale County's employees and agents as set out
                    herein for Liaison(s).

               3.   Multiple Liaisons

                    In the event that the Commissioner designates more than one individual to act
                    as Liaison, the State shall provide Trousdale County with a description of the
                    liaisons' levels of authority in writing executed by the Commissioner.

                    In the event Trousdale County believes it Is receiving conflicting instructions
                    from the Liaison(s) or that the Liaison is acting beyond its level of authority
                    under the Contract or as provided in this Contract, Trousdale County shall notify
                    the Commissioner in writing. The written response of the Commissioner shall be
                    final.

               4.   Office Space

                    Trousdale County shall provide, at its expense, adequate office space and local
                    telephone service for the Liaison(s) and the staff of the Liaison(s), which may
                    include a secretary, in close proximity to other administrative offices.

                    Trousdale County also shall provide the Liaison(s) and staff with access to all
                    major office equipment, at Trousdale County's expense.

                    Trousdale County shall not provide the Liaison(s) or Liaison(s)' staff with gifts or
                    any form of compensation at any time.
                                                                                                      4




                                                               CCI 000937
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                5.   Liaison Access

                     The Liaison(s) shall have immediate, complete, and unrestricted access to all
                     parts of the Facility at any and all times.

                     The Liaison(s) shall have Immediate, complete, and unrestricted access to all
                     documents in any way pertaining to the obligations of Trousdale County under
                     this Contract, including but not limited to Facility records, Inmate files,
                     personnel files, and financial records. In the event that any such document is
                     not located on the facility site, upon request Trousdale County agrees to provide
                     the Liaison with a copy of the document within seventy-two (72} hours of the
                     request.

                     The Liaison(s} shall have immediate, complete and unrestricted access to all
                     Inmates and access at a reasonable time and place to all employees of
                     Trousdale County, including, but not limited to, the warden.

                     The Liaison(s} shall have immediate, complete, and unrestricted access to all
                     meetings and hearings which in any way pertain to the obligations of Trousdale
                     County under this Contract. Trousdale County agrees to notify the Liaison of the
                     time, place, and agenda at least twenty-four (24) hours in advance of any such
                     meeting or hearing, unless it is not reasonable to provide said notice in which
                     case the Liaison shall be notified simultaneously with the other participants;
                     provided, however, the Liaison may not have access to meetings covered by the
                     attorney-client privilege.

                6.   Meetings with Liaison

                     Trousdale County agrees that the Warden shall meet with the Liaison to report
                     on/discuss the operations of the Facility and to respond to any questions raised
                     by the Liaison.

                7.   Requests for Information

                     Trousdale County shall provide the Liaison(s} with written responses to any
                     information requested by the Liaison(s) or Commissioner concerning Trousdale
                     County's performance of this Contract within the period prescribed in the State's
                     request.

                     Trousdale County shall certify that said information is accurate and if Trousdale
                     County is unable to so certify then Trousdale County shall state the reason
                     therefor.

                     Upon written request by the Liaison(s) or Commissioner, Trousdale County shall
                     compile information in the requested form and provide documentation
                     substantiating said information.

                     Documents related in any way to the Trousdale County's performance under the
                     Contract shall be retained for the periods of time required for similar documents
                     created or used by the Department, as described in Department policy and
                     retention schedules.

                8.   State Inspection

                     The Commissioner or his/her designee(s) shall have the same access as
                     described in Section A.3.b.5, Liaison Access, which access shall include but not
                     be limited to persons designated by the Commissioner to inspect or audit the
                     Facility and/or Trousdale County's performance under this Contract. Trousdale
                                                                                                    5




                                                                CCI 000938
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                       County is also obligated to provide appropriate access to authorized inspection
                       and regulatory agencies. Trousdale County shall exercise due diligence for the
                       safety and welfare of the Liaison(s), any other State employee, and any visitor
                       at the Facility.

                9.     Immediate Compliance

                       a.      If the Commissioner determines that Trousdale County is not operating
                               in compliance with a term or condition of this Contract which In the
                               opinion of the Commissioner adversely affects the security of the
                               Facility or which may present a hazard to the safety or health of Inmates
                               or other individuals, Trousdale County shall be notified in writing (or
                               verbally if it is believed an emergency situation exists). The notice shall
                               direct Trousdale County to immediately correct the noncompliance.

                       b.      Trousdale County shall immediately notify the Commissioner of the
                               proposed corrective action. If the Commissioner does not object to the
                               proposed corrective action, Trousdale County shall immediately
                               implement said corrective action.

                       c.      If the Commissioner disagrees with the proposed corrective action or if
                               Trousdale County fails to notify the Commissioner immediately of its
                               proposed corrective action, the Department shall specify corrective
                               action which Trousdale County shall immediately implement.

                       d.      Notwithstanding any provision contained herein to the contrary, in such
                               a circumstance, Trousdale County shall immediately implement the
                               corrective action specified by the Department before any appeal is
                               taken.

                       e.      In the event Trousdale County disagrees with the determination of
                               noncompliance or designated corrective action, a request for
                               reconsideration may be taken to the Commissioner. In no event shall
                               the corrective action be delayed pending appeal.

                       f.      Upon examination, if the Commissioner determines in his or her sole
                               discretion that noncompliance did not exist or that the corrective action
                               required by the Department was excessive, the Commissioner shall
                               authorize payment to Trousdale County of the actual expense incurred
                               in taking said corrective action or excessive corrective action upon
                               receipt of appropriate documentation substantiating said expense from
                               Trousdale County. All directions and actions by the Commissioner and
                               actions by the Contractor shall be recorded and reported in writing as
                               soon as practical and filed with the TDOC Office of Compliance.

                10.    Incident Reports

                       Trousdale County shall implement Departmental policy regarding the reporting
                       of incidents.

                11 .   Operation of Facility

                       A.      Obligations of Trousdale County. Trousdale County will perform all acts
                               and services and comply with all duties and promises as described and
                               in conformance with the following:

                               1.       All applicable constitutional standards, federal, state and local
                                        laws and rules and regulations, court decisions, and Court

                                                                                                        6




                                                                CCI 000939
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                                   Orders, consent agreements, whether currently existing or as
                                   may be enacted or rendered in the future;

                          2.       All existing State and Departmental policies specified in
                                   Appendix C, or, in the discretion of the State, other policies
                                   approved by the Department which may not be identical to
                                   State or Department policies. Current TDOC policies applicable
                                   to this contract are available to Trousdale County;

                          3.       Such other policies as the Department may make applicable to
                                   Trousdale County in writing during the term of this Contract as
                                   same may be amended during the term of this Contract. Any
                                   revision in applicable TDOC policy will be sent to Trousdale
                                   County at the e-mail address provided in E.2, Special Terms
                                   and Conditions of this contract. Any change in the scope of
                                   services as a result of this would be compensated by an
                                   adjustment either upward or downward in accordance with
                                   Section C.11, Compensation Adjustment for Change of Service;

                          4.       ACA Standards; and

                          5.       The terms of this Contract.

                          The standards articulated in (1) through (5) hereinafter collectively shall
                          be referred to as ustandards."

                     B.   Obligations of the State. The State agrees to perform its obligations as
                          described herein.

                     C.   Conflicts.

                          1.      In the event of an irreconcilable conflict among the Standards,
                                  Trousdale County is required to follow the Standard as
                                  determined by the Liaison(s).

                          2.      In the event of disagreement between Trousdale County and
                                  the Liaison(s) regarding which item provides the standard of
                                  service, the Commissioner or his designee shall make the final,
                                  binding decision.

                     D.   Policy and Procedures Manual and Operations Plan. No less than 60
                          days before the Service Commencement Date, Trousdale County shall
                          provide the State with a written Policy and Procedures Manual which
                          shall contain policies and procedures for all services to be rendered by
                          Trousdale County in accordance with the Standards. On or before the
                          Service Commencement Date, Trousdale County shall also submit an
                          Operations Plan relating to all areas covered by the contract, subject to
                          the written approval of the State, including but not limited to a staffing
                          pattern, security and post assignments, post orders for all security
                          positions by post and shift, and designation of critical posts. Said
                          manual and plan shall establish the policies and procedures Trousdale
                          County shall follow in all areas covered by this Contract. Said manual
                          and plan shall be subject to the written approval of the State and shall
                          not be altered, amended, modified, revised or supplemented without the
                          prior written approval by the State. Trousdale County shall implement
                          the provisions of said manual and plan throughout the term of this
                          Contract. The State may require the Contractor to revise these
                          documents, including policies, procedures, post orders, job descriptions,
                          staffing patterns, shift rosters, etc., as required. A designee of the
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                                                                CCI 000940
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                          commissioner shall review and approve any applicable policy or
                          procedure annually.

                     E.   Assignment and Transfer of Inmates.

                          1.     Inmates will be assigned to the Facility in accordance with
                                 Departmental policies. Trousdale County may not refuse to
                                 accept any inmates proposed to be assigned to the Facility, but
                                 if Trousdale County believes that an Inmate has been
                                 erroneously assigned to the Facility or is presenting a discipline
                                 problem sufficient to require higher custody status which cannot
                                 be provided adequately or safely in the Facility, it may request
                                 his transfer in writing, through the Liaison(s), citing the
                                 appropriate sections of Departmental policy. Any decision by
                                 the Department on such request shall be final.

                          2.     Trousdale County's requests for reassignment of Inmates from
                                 the Facility to another institution for medical, psychiatric,
                                 disciplinary or administrative reasons or for Inmate furloughs
                                 will be made in writing through the Liaison(s) and evaluated by
                                 the Department. Any decision by the Department on such
                                 requests shall be final.

                          3.     The State may transfer Inmates from the Facility with said
                                 decision to transfer being within the State's sole discretion.

                     F.   Safety and Emergency Procedures.

                          1.     No less than sixty (60) days prior to the Service
                                 Commencement Date, Trousdale County shall submit to the
                                 State one hard copy and one electronic version of the following:
                                 (1) riot and disturbance control and contingency plans, and (2)
                                 disaster preparedness plans. Trousdale County shall cooperate
                                 with the State in preparing contingent Inmate relocation plans.

                          2.     Trousdale County shall develop and submit to the State on or
                                 before the Service Commencement Date, written guidelines for
                                 the prevention of fire, safety inspections, maintenance of fire
                                 alarm and smoke detection/evacuation systems, fire evacuation
                                 drills, evacuation plans, a procedure to report job-related
                                 injuries, and provisions for testing equipment to maintain
                                 essential lighting, air, noise, power and communications. All
                                 such procedures will comply with Tennessee Occupational
                                 Safety and Health Act (TOSHA), T.C.A. Title 50, Chapter 3,
                                 National Fire Protection Association (NFPA) life safety
                                 codes/standards and Department Policies 112.03, 112.04,
                                 112.05, and 112.09

                          3.     Trousdale County shall develop and submit to the State plans
                                 for the search and apprehension of any escaped Inmate on or
                                 before the Service Commencement Date. Said plans shall
                                 address Trousdale County searching for any escapee off the
                                 grounds of the Facility and coordination with local and State
                                 authorities. Trousdale County shall implement said plans
                                 regarding any search off the grounds of the Facility only if so
                                 requested by the Commissioner.

                          4.     During the term of this Contract, Trousdale County shall
                                 develop and submit to the State in writing any other emergency
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                                                                CCI 000941
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                                 and control plans as may be requested in writing by the
                                 Department within thirty (30) days of receipt of said request.

                          5.     All plans required under this Section must be submitted to the
                                 State and approved by the State in writing. Trousdale County
                                 agrees to make any revisions, deletions or additions requested
                                 by the Commissioner or his designee. Upon written approval by
                                 the State, Trousdale County shall begin immediate
                                 implementation of the plans or in the case of contingency plans,
                                 certify that Trousdale County has the ability and shall implement
                                 the plan if the contingency occurs. Said plans may not be
                                 revised, amended, altered, or supplemented without prior
                                 written consent of the State.

                          6.     All plans must be in conformance with the Standards.

                     G.   Medical and Mental Health Services.

                          1.     Trousdale County shall provide, in compliance with the
                                 Standards, all physical health services, mental health services
                                 and dental services as specified in this Section and in the
                                 Standards, utilizing the TDOC Health Services medical records
                                 forms and mental health service forms, as said forms may be
                                 revised or supplemented during the term of this Contract.

                                 All medical services provided must be deemed medically
                                 necessary and must be approved through the TDOC Utilization
                                 Management process under the supervision of the TDOC
                                 Medical Director or designee.

                                 a.      Physician Coverage. The Contractor shall provide on-
                                         site physician coverage as specified in the approved
                                         institutional staffing plan and provide supervision of
                                         mid-level providers and consultation to nursing staff.
                                         Physician coverage shall include primary care services
                                         for inmates in mental health units. The Contractor shall
                                         provide an on-call physician to ensure 24-hour, seven
                                         days per week, emergency coverage with telephone
                                         response being required within 30 minutes of a
                                         notification call from the     facility. The institutional
                                         physician is responsible and is physician of record for
                                         all inmates assigned to the Institution and retains that
                                         responsibility until the Inmate care is officially
                                         transferred to another licensed clinician. A physician
                                         shall determine whether his/her presence is required,
                                         give verbal orders and a treatment plan to nursing staff.
                                         Physician assistants/Nurse practitioners will provide on-
                                         site treatments for medical problems or injuries
                                         requiring sutures and minor surgical procedures as
                                         required on a 24-hour basis. On-site procedures, such
                                         as suturing, must be performed within 6 hours.

                                 b.      Nursing Coverage. The Contractor shall provide on-site
                                         24-hours per day/ seven days/ week (24/7) nursing
                                         coverage as specified in the approved institutional
                                         manual.

                                 c.      Nursing Protocols. The Contractor is required to submit
                                         nursing protocols to the State for written approval within
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                                       the first 30 days of the contract start date and annually
                                       thereafter. Such nursing protocols shall be applicable
                                       for all nursing staff including state employees and
                                       contractors. Any changes to said protocols shall require
                                       written approval by the TDOC Director of Nursing or
                                       Designee.

                               d.      Medication Administration. In accordance with the
                                       Contractor's staffing responsibilities, the Contractor's
                                       nurses shall administer all controlled, high abuse
                                       potential drugs and psychotropic medications to
                                       inmates.

                               e.      Contractor will oomply with TDOC policy 113.70,
                                       Management of Pharmaceuticals, which requires
                                       accountability of controlled substances consisting of
                                       medication reconciliation at the change of each shift
                                       with signature of outgoing and incoming clinical staff.

                               f.      Prosthetics and Durable Medical Equipment. The
                                       Contractor ·shall be responsible for all prosthetics and
                                       durable medical equipment ordered by its physicians
                                       and specialists, including braces, special shoes,
                                       glasses, hearing aids, orthopedic devices, etc. Health
                                       care prosthetic devices and durable medical equipment
                                       shall be provided for inmates when deemed necessary
                                       by the attending health care provider to correct, assist,
                                       or improve a significant body impairment or debilitating
                                       condition, in accordance with TDOC policy.

                               g.      Mid-level Supervision. The contractor's physician staff
                                       shall supervise all mid-level providers In accordance
                                       with the Tennessee Health Related Boards Rules and
                                       Regulations.       Mid-level superv1s1on must be
                                       documented in the medical chart.

                          2.   At a minimum, the institution will operate as a Mental Health
                               Level II and V facility as defined in Policy 113.87. These
                               services must meet the Standards, and will be monitored
                               pursuant to Section A.3.

                          3.   The Contractor shall ensure that all physical, mental, and dental
                               health care is provided by appropriately licensed and/or
                               qualified health care professionals as defined in TDOC policies.
                               Candidates for the Medical Director, Physicians, and Nurse
                               Practitioners positions shall be forwarded for the review of the
                               TDOC Medical Director.

                          4.   The physical health, mental health, and dental services shall
                               include but not be limited to:

                               a.      24 hour-a-day, 7 day-a-week emergency physical and
                                       mental health care;

                               b.      initial health screening;

                               c.      intake history and physical examinations

                               d.      health appraisal examination;
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                               e.   daily triaging of complaints;

                               f    daily sick call per the Standards;

                               g.   infirmary operation with at least supervision by an RN
                                    twenty-four hours per day, seven days per week;


                               h.   use of the Department health and programmatic
                                    records;

                               I.   specialty care and/or mental health programs and
                                    services for, but not limited to, Inmates with chronic
                                    diseases, terminal illnesses or requiring convalescent
                                    care;

                               j.   psychology services (routine), psychiatry services
                                    (routine), sheltered living (ancillary), and substance
                                    abuse services;

                               k.   Specialty physician care; (The State may, in its sole
                                    discretion, allow the Contractor to use the health
                                    services at the Lois M. DeBerry Special Needs Facility
                                    (DSNF), provided, however, that the Contractor shall
                                    enter Into an agreement for usage and payment for said
                                    services with the State's health services contractor.)

                               I.   ancillary services- radiology, laboratory, etc.;

                               m.   dental services;

                               n.   pharmaceutical services and supplies;

                               o.   optometry services (provided on site);

                               p.   health education;

                               q.   inpatient hospitalization services;

                               r.   outpatient services;

                               s.   immunizations,

                                    1. Influenza: H1 N1 and seasonal influenza vaccines

                                    2. Pneumococcal vaccine

                                    3. Hepatitis B provided to high risk patients

                                    4. Hepatitis A when clinically indicated

                                    5. Hepatitis vaccination will be provided to inmate
                                    workers where there is a high risk
                                    of exposure

                                    6. Tetanus vaccination when clinically indicated


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                          5.   Infirmary Bed Use: Every consideration will be given to use of
                               infirmary beds for the purpose of managing inmates in a safe
                               manner with short term medical needs to include, but not limited
                               to:

                               a.      Controlled environment evaluations.

                               b.      Medical conditions which prevent the inmate from
                                       managing activities in general population but do not
                                       warrant a transfer to a Regional Sub-Acute Center.

                               c.      Step down post hospitalization care not requiring the
                                       level of care provided at Regional Sub-Acute Centers.

                               d.      Conditions in which IV fluid therapy for up to a two
                                       week period which may include antibiotic administration
                                       should be provided at those institutions with dedicated
                                       infirmary beds {see below).

                               f.      Post Emergency Room evaluation before release into
                                       general population if clinically indicated.

                               g.      Infirmary beds must be able to accommodate the
                                       medical and mobility needs of the inmate or a medical
                                       transfer to a higher level of care may be indicated.

                               h.      Routine wound care.

                               i.      Intravenous therapy, Intramuscular therapy or
                                       subcutaneous therapy administration of fluids and/or
                                       medications.

                               k.      Oxygen and/or Continuous Positive Airway Pressure
                                       {CPAP}.

                               I.      Wound care (including vacuum-assisted wound
                                       closure) and dressing changes.

                               m.      Enteral nutrition.

                               n.      Burn, cast and ostomy care.


                          6.   Chronic Care Clinics. The Contractor shall develop and
                               implement a program for the care of inmates with chronic and
                               infectious diseases, in accordance with TDOC policy #113.32.
                               The chronic care provided shall entail the development of an
                               individual treatment plan by the responsible physician
                               specifying instructions for diet, medication, diagnostic testing,
                               self-care instructions, disease education and follow-up. The
                               Contractor is responsible for the costs associated with dietary
                               supplements ordered by the attending physician. Chronic care
                               patients shall be provided a review by a mid-level provider
                               every three months and by a physician or mid-level provider, as
                               determined by clinical indications but no less than every six
                               months. Chronic care conditions shall include but not be limited
                               to chronic respiratory diseases, cardio-vascular disease to
                               include hypertension, diabetes, neurological disorders to
                               include epilepsy, inmates with physical impairments that impact
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                                                                CCI 000945
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                               on their ability to function in a correction environment, geriatric
                               care, and terminally ill, and infectious diseases to include HIV,
                               Hepatitis C, and Cardiac Disease. In the event that a specific
                               disorder is identified that impacts the TDOC inmate population,
                               TDOC reserves the right to require an addition to the list of
                               dedicated disease specific clinics.

                          7.   Radiology. The Contractor shall provide all radiology services
                               through subcontracting or provide radiology services at each
                               institution under this contract by a certified technician and
                               interpretation by a board certified radiologist. It is the intent of
                               TDOC to use on-site radiology services when available to
                               minimize offsite radiology/diagnostic services. TDOC requires
                               the contractor to utilize mobile services, targeting
                               mammography, ultra sound, echocardiogram, non-urgent CT,
                               MRI, and PET scans when on-site services are not available at
                               any facility. It is preferred that the subcontractor has and
                               maintains accreditation by national accreditation entities such
                               as American Institute of Ultrasound in Medicine for services
                               provided when accreditation is available These services shall
                               be available outside of normal business hours to determine the
                               need to travel to obtain emergency services beyond those that
                               can be provided at the institution. All reports will be typed and
                               delivered in a timely manner to the correctional facility clinical
                               staff as approved by the TDOC Medical Director. The
                               Contractor is responsible for the provision of all other off-site
                               diagnostic testing required. The Contractor shall provide all on-
                               site fluoroscopy and special studies as capabilities allow.
                               Radiology studies will be provided with digital imagery allowing
                               access by designated providers in TDOC facilities and the
                               TDOC Medical Director, direct access to view the films via PC's.
                               Typed reports for routine studies shall be provided to the facility
                               as soon as they are read or no later than 48 hours after the
                               reading. The radiologist shall call the facility within 24 hours with
                               any report requiring immediate intervention. Hard copy typed
                               reports and films (where digital technology is not available) shall
                               be received within 72-hours of completion. The Contractor is
                               responsible for the maintenance, filing and purging of all xray
                               films. The Contractor is responsible for providing all supplies
                               required to support xray services.

                          8.   Laboratory Services. The Contractor is responsible for the
                               procurement and processing of all medical laboratory services
                               including supplies, forms, and tests in accordance with TDOC
                               policy. Laboratory specimens will be processed off-site for
                               procedures/tests that are not waived by the Clinical Laboratory
                               Improvement Amendments (CLIA). The Contractor shall ensure
                               that the off-site laboratory has a quality assurance plan and is a
                               CLIA certified laboratory. The Contractor shall be responsible
                               for obtaining and maintaining necessary CLIA waivers at all
                               sites.

                          9.   Electrocardiography (EKG) Services. The Contractor shall
                               provide EKG services on-site at the facility. Contractor shall
                               either provide EKG machines at the facility or subcontract for
                               these services. The Contractor shall be responsible for supplies
                               and repair costs for TDOC equipment. It is preferable that EKG
                               machines have transmission capabilities with 24 hour/day

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                                cardiologist reading services available at the request of
                                institutional staff.


                          10.   The Contractor shall be responsible for all medication costs.

                                a.      The Contractor shall submit to the State's medical
                                        director a monthly pharmaceutical utilization report
                                        denoting, but not limited to, the following: the
                                        prescriber, inmate number, type of medication, and
                                        associated cost.

                                b.      The Contractor shall be responsible for securing the
                                        services of a pharmaceutical company that provides a
                                        delivery system that assures that medications are
                                        properly stored, packaged, and administered and
                                        provides for accountability of controlled substances.

                                c.      The pharmaceutical company of choice shall possess
                                        the capability of· producing drug information forms to be
                                        distributed on site by the prescribing psychiatrist or
                                        certified nurse specialist (CNS). The drug information
                                        form shall be drug specific and include a patient
                                        signature line and date.

                                d.      The Contractor shall have in place a non-formulary
                                        request process. The Contractor shall provide the State
                                        with a copy of the Contractor's formulary as requested.
                                        Medications will be ordered in accordance with the
                                        Drug Formulary approved by the TDOC Medical
                                        Director and in accordance with TDOC policies. The
                                        Contractor's State Wide Medical Director will participate
                                        on the State wide Pharmacy and Therapeutics
                                        Committee and will communicate findings of the
                                        committee to contracted providers.

                                e.      The contractor shall follow TDOC Clinical Guidelines for
                                        chronic disease management, nursing protocols,
                                        psychiatric disorders, vaccinations, and immunizations.
                                        Where applicable, medications specified in these
                                        guidelines shall be provided as formulary medications.

                                f.      The contractor shall assist with the Quarterly TOOC
                                        pharmacy and Therapeutic Committee meetings in
                                        accordance to TDOC policy. The contractor's clinical
                                        pharmacologist or the contractor's Chief Medical Officer
                                        should participate in the committee meetings and
                                        monitor pharmaceutics outcome measures. The clinical
                                        pharmacologist is responsible for providing the
                                        requested statistical reports in preparation with the
                                        meetings.

                                g.      The contractor shall develop with the State a
                                        medication error review process to include electronic-
                                        tracing, reporting and trending of the dispensing and
                                        administration errors. A monthly electronic report shall
                                        be provided to the state detailing the month-to-date and
                                        year-to-date medication errors by facility.

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                          11 .   Qualitv Improvement. The Contractor shall comply with the
                                 State's quality improvement initiatives in accordance with TDOC
                                 policy 113.09.

                                 a.     Committees. The Contractor shall attend all committee
                                        meeting as indicated below

                                        (1)     State Continuous Quality Improvement (CQil
                                                Committee. The TDOC Statewide Associate
                                                Medical Director and the TDOC Behavioral
                                                Health Director shall be responsible for co-
                                                chairing the State Continuous Quality
                                                Improvement (CQI) Committee. Statewide
                                                quality improvement meetings are to be held
                                                quarterly or more frequently if necessary. At a
                                                minimum        the     contractor's  Statewide
                                                Administrator, Statewide Medical Director,
                                                Statewide Infectious Disease Management
                                                Coordinator, and Statewide CQI Coordinator
                                                shall attend this meeting.

                                        (2)     Infectious Disease Committee. The Contractor
                                                shall assist with maintaining an Infectious
                                                Disease Committee consisting of the TDOC
                                                Medical Director, Statewide Director of Nursing,
                                                Statewide Infectious Disease Management
                                                Coordinator, the Contactor's Statewide Medical
                                                Director, and others as designated. The
                                                purpose of this committee is to establish an
                                                effective infectious disease management
                                                program which will meet the needs of inmates
                                                with HIV/AIDS, TB, MRSA, Hepatitis, and other
                                                infectious diseases. The committee will also be
                                                responsible for establishing educational and
                                                training programs which are designed to
                                                enhance the knowledge of inmates and staff
                                                and thus prevent the spread of infectious
                                                diseases. These programs are to be consistent
                                                with acceptable medical standards and the
                                                State's policy for communicable and infectious
                                                disease.

                                        (3)     Pharmacy & Therapeutics Committee (P&n
                                                The contractor will work in cooperation the
                                                TDOC Medical Director to coordinate a
                                                statewide P&T Committee. The TDOC Medical
                                                Director will chair this committee which will
                                                meet quarterly or more often if necessary. The
                                                purpose of the Committee is: the review of the
                                                formulary and any recommended additions or
                                                deletion as recommended by the Contractor or
                                                TDOC. In addition any information related to
                                                specific medications such as a change in
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                                                                CCI 000948
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                                           indications, drug-drug interactions, or warni11gs
                                           will be discussed. The Contractor will identify a
                                           clinical pharmacologist who will attend
                                           meetings and be responsible for discussing
                                           reports related to Inmates on prescriptions,
                                           listing the most costly medications, as well as
                                           comparisons to other states based on other
                                           contracts of the Contractor or research on
                                           medication costs for other DOCs.

                                    (4)    Peer Review Committee. The TDOC Medical
                                           Director will chair the Physician Peer Review
                                           Committee for the purpose of reviewing the
                                           credentials and clinical performance of
                                           Physicians' (to include Psychiatrists), Dentists
                                           and at the discretion of the Committee;
                                           Physician Assistants and Advance Practice
                                           Nurses. The Contractor's membership on the
                                           Committee will consist of the Contract Medical
                                           Director and the Contractor's Chief Dental
                                           Officer. This Committee will meet bimonthly or
                                           more often if a situation may arise that
                                           indicates a need to meet. A meeting may be
                                           requested through the Chair by any member.

                                    (5)    Peer Review. Annually, the work of all
                                           physicians and dentists shall be reviewed
                                           jointly by the Contractor and appropriate TDOC
                                           Medical Director. In an effort to assure clinical
                                           performance enhancement, the Contractor
                                           shall have a peer review program that Is
                                           approved, in writing, by the TDOC Medical
                                           Director within sixty (60) days of contract
                                           execution and annually thereafter. The program
                                           must either meet or exceed the State's policy
                                           and CQI Charter for peer review. The State
                                           Medical Director shall be notified of all peer
                                           review actions and the results of the peer
                                           review process shall be shared with the State's
                                           Peer Review Chairperson. The State shall
                                           review the peer review reports and approve the
                                           Contactor's plan of corrective action for peer
                                           review deficiencies.

                                    (6)    Morbidity and Mortality Committee. The TDOC
                                           Medical Director shall be responsible for
                                           chairing the State Morbidity and Mortality
                                           Review Committee. Statewide Morbidity and
                                           Mortality Committee meetings are to be held
                                           monthly or more frequently if necessary. At a
                                           minimum       the    Contractor's      Statewide
                                           Administrator, Statewide Medical Director, and
                                           attending physician shall attend this meeting.

                               b.   Reports. The Contractor shall be responsible for
                                    preparing minutes of all committee meetings as
                                    designated by the State. The Contractor shall also be
                                    responsible for ensuring that all necessary data and
                                    reports are completed and reported to the State within
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                                                                CCI 000949
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                                        the designated timeframes in an effort to identify areas
                                        of opportunity for improvement in health care
                                        operations.

                                        In accordance with the TDOC's policy, the Contractor
                                        shall submit a monthly COl report to the TDOC CQI
                                        coordinator in a written or electronic form acceptable to
                                        the State, by the fifteenth (15th) day of each month.

                                        At least annually, the Contractor shall provide the
                                        institution with documentation that peer review has
                                        been completed for each physician, dentist and
                                        midlevel provider on staff at that institution

                          13.   The Contractor shall be responsible for security services for
                                Inpatient care during the confinement period for which the
                                Contractor is financially responsible, other than at a
                                Departmental facility. Contractor shall provide security at an off-
                                site medical facility after the Department assumes
                                responsibility, if requested to do so by the Department. In such
                                instances, the State shall reimburse the Contractor for the
                                actual cost of providing such security services.

                                For the purpose of utilization management, the Contractor shall
                                notify in writing the State's medical services contractor of all
                                hospital admissions within 6 hours of the inpatient admission to
                                the TDOC medical contractor and reported to the TDOC Clinical
                                Ombudsman as a sentinel event. Failure to report will result in
                                the Contractor bearing financial responsibility for the total cost
                                of the hospitalization.

                          14.   Mental Health. The Contractor shall provide routine and
                                ancillary services as defined by Policy 113.80. All programming
                                curriculum shall be annually approved in written form by the
                                institutional psychologist. The Contractor shall develop and
                                have in place program outcome measures that shall be
                                reviewed by the State's Director of Behavioral Health Services
                                and/or designee. The State reserves the right to modify the
                                curriculum and recommend reasonable program delivery
                                change if it is determined that participants are not benefiting.

                          15.   Sex Offender. The State shall, when applicable, provide
                                specialized training for sexual offender treatment programs. The
                                Contractor shall follow the program philosophy and design
                                standards as presented by the State.

                          16.   Substance Abuse. The Contractor shall provide substance
                                abuse treatment services that emphasize an evidence-based
                                program curriculum in a therapeutic community setting and
                                outpatient setting. All treatment services shall adhere to TDOC
                                policy 513.07 (Substance Abuse Programming and Services
                                Delivery). All program curricula must be approved by TDOC
                                before use.

                          17.   Notwithstanding any provision contained herein to the contrary,
                                the Contractor shall be responsible for the cost of providing all
                                health, medical, mental health, and dental services, including
                                but not limited to inpatient hospitalization, any surgery and
                                specialty services, medications, specialty clinics, medically
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                                                                CCI 000950
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                                 related transportation and the costs associated with the
                                 provision of services described in this section unless specifically
                                 excluded or limited below under Exclusions And Limitations.

                          18.    Exclusions and Limitations.

                                 a.       If the inmate is hospitalized, the Contractor shall not be
                                          responsible for Inpatient-Hospital Costs which exceed
                                          FOUR THOUSAND DOLLARS ($4,000.00) per Inmate
                                          per admission. The Department's Medical Contractor
                                          shall be responsible for utilization management of all
                                          hospital cases. Accordingly, once the Inmate has been
                                          determined medically stable, the Department's Medical
                                          Contractor shall decide if a hospital transfer is
                                          appropriate to manage the remainder of the hospital
                                          admission. In accordance with the Standards, the
                                          Contractor may request than an Inmate be either
                                          temporarily or permanently transferred to DeBerry
                                          Special Needs Facility (DSNF) or any other Regional
                                          Sub-Acute Center in Tennessee. Upon written approval
                                          by the TDOC Medical Director, the Inmate will be
                                          transferred to DSNF or any other Regional Sub-Acute
                                          Center for evaluation and/or treatment. If an Inmate Is
                                          housed and treated at a TDOC Regional /Sub-Acute
                                          Center, the Department may assume financial
                                          responsibility for expenses incurred within its facility.
                                          Provided, however, notwithstanding any provision
                                          contained herein to the contrary, any Inmate medical
                                          expenses resulting from the negligence or willful
                                          wrongdoing of the Contractor, its officers, agents or
                                          employees, shall be fully paid for by the Contractor.

                                 b.       Final decision regarding financial responsibility rests
                                          with the TDOC Commissioner.

                                 c.       The percentage of inmates with Hepatitis C, HIV/AIDS
                                          and end stage chronic care needs housed at the
                                          Facility shall not exceed the average percentage of
                                          such inmates within the State's system plus 3% ..

                     H.   Food Service.

                          1.     Contractor will provide food service for the Inmates and
                                 volunteers in accordance with the Standards, including but not
                                 limited to the provision of special and religious diets and three
                                 (3) meals for each Inmate served at regular times during each
                                 twenty-four (24) hour period with no more than fourteen (14)
                                 hours between the evening meal and breakfast.

                          2.     The Contractor shall not be required to follow the Department's
                                 master menu, but the food service area must comply with State
                                 health regulations and the Standards. At a minimum the amount
                                 of daily calories must conform to the recommended dietary
                                 allowances published by the National Academy of Sciences.
                                 Menus shall be approved by TDOC dietician annually. Menus
                                 and dietary allowances shall be filed with Office of Compliance.



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                          3.      The Contractor is strongly encouraged to purchase food
                                  products, milk and other beverage products offered from
                                  TRICOR.

                     I.   Laundry, Inmate Clothing and Hygiene.

                          1.      Contractor will provide complete Inmate laundry services,
                                  Inmate clothing and bed linen (including pillows, pillow cases,
                                  sheets, blankets), and towels in accordance with the Standards.

                          2.      Contractor shall ensure the issue of clean, usable bed linen,
                                  towels, shoes and clothing to all Inmates.

                          3.      Contractor shall provide Indigent Inmates with soap, toothbrush,
                                  toothpaste, comb, deodorant, and all other necessary hygiene
                                  supplies.

                          4.      Pursuant to Tennessee Code Annotated § 41-21-234(a) all
                                  Inmates shall be clothed in the TDOC uniforms (shirts, pants
                                  and jackets) manufactured by TRICOR and the Contractor shall
                                  be responsible for providing the clothing. This is to be provided
                                  for in the per diem rate which the Contractor charges TDOC.

                          5.      Inmates transferred from TCCF to another institution will be
                                  sent with the same amount of State uniform clothing required by
                                  policy. Receiving institutions who note insufficient clothing in the
                                  property of Inmates received from TCCF will notify the TDOC
                                  liaisons' office at TCCF of the shortage.

                     J.   Recreation.

                          1.      Consistent with the Standards, the Contractor shall provide
                                  facilities, equipment and supplies for indoor and outdoor
                                  recreational and leisure time programs for the Inmate
                                  population.

                          2.      Contractor shall provide for a comprehensive recreational
                                  program supervised by a qualified person and shall set forth the
                                  number of hours of outdoor recreation available to each Inmate.
                                  On or before the Service Commencement Date, Contractor
                                  shall submit to the Department one (1) hard copy and one (1)
                                  electronic version of the written policy and procedure which
                                  shall provide the specifics of said program and shall be subject
                                  to the prior written approval of the State.

                     K.   Transportation.

                          1.      The Contractor will be responsible for the following Inmate
                                  transportation:

                                  a.        All transportation between the Facility and any TDOC
                                            facility located in Davidson County, Tennessee,
                                            designated by the State to connect with central
                                            transportation system vehicles, to include transportation
                                            of Inmates initially assigned to the Facility and other
                                            Inmates being transferred to and from the Facility for
                                            various reasons.

                                  b.        All transportation within the Local Area; and
                                                                                                   19




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                                   c.      Transportation outside the Local Area, as necessary,
                                           when the Department's central transportation is
                                           unavailable or time restricts inter- institutional transfer,
                                           including but not limited to administrative transfers
                                           initiated by the Warden and approved by the
                                           Commissioner's designee, and missed or late
                                           notification of court dates.

                           2.      Contractor is responsible for all inmate transportation costs that
                                   are medical related.

                           3.      The Contractor shall provide security in conformance with the
                                   Standards while transporting Inmates.

                           4.      The Department will be responsible for all other inmate
                                   transportation via connection at a TDOC facility located in
                                   Davidson County for Department-mandated moves of prisoner
                                   groups for assignment purposes.

                      L.   Inmate Commissary.

                           1.      Contractor will provide a commissary for Inmates which shall
                                   supply only those non·consumable items approved by the
                                   Department in writing and such consumable items as the
                                   Contractor approves.

                           2.      The Contractor may not have items in the Commissary that are
                                   prohibited by Departmental policy.

                           3.      Commissary items shall be sold at a price determined by TDOC
                                   Policy 209.01 and subject to the prior written approval by the
                                   Commissioner or his designee. All profits derived from the
                                   Commissary operation shall be retained by Contractor.
                                   Contractor shall utilize the statewide Inmate Trust Fund system
                                   for all commissary transactions.

                     M.    Mail. Contractor will provide pick·UP and delivery of Inmate mail in
                           compliance with the Standards. Contractor will furnish first class
                           postage to Indigent Inmates for the mailing of legal documents to courts
                           or legal counsel and a reasonable amount of postage for other
                           purposes as per TDOC policy 507.02. The Contractor shall follow the
                           TDOC mail policy to include all special approved package programs.

                     N.    Religious Services. Contractor will designate adequate staff, volunteers
                           and space within the Facility for religious services and provide religious
                           programs and/or religious services in compliance with the Departmental
                           Policy.

                     0.    Reentrv and Counseling Services.

                           1.      Contractor will designate space within the Facility to provide
                                   counseling, case management, and reentry services in
                                   compliance with Departmental policy. Counseling and reentry
                                   services shall include but not be limited to the following:

                                   a.      Administration of a risk-needs assessment according to
                                           TDOC policy.

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                                  b.      Assistance with obtaining offender identification/driver's
                                          license, birth certificate, and other vital records.

                                  c.      Assistance with the development of a reentry plan for
                                          offenders expiring their sentences and/or transitioning
                                          to community supervision.

                                  d.      Career development planning.

                          2.      Contractor shall provide adequate staff to provide counseling,
                                  case management, and reentry services and should include the
                                  fallowing specialized counselor positions:

                                  a.      Chief Counselor

                                  b.      Reentry Specialist

                                  c.      Career Development Counselor

                     P.   Inmate Grievance Procedure. Contractor will comply with Departmental
                          policies and procedures regarding the Inmate grievance process and
                          the Department's system for maintaining grievance-related records, as
                          said policies and/or system may be revised during the term of this
                          Contract.

                     Q.   Security.

                          1.      Contractor shall provide security in accordance with the
                                  Standards at all times in the Facility, and while Contractor is
                                  transporting Inmates and at all other times unless relieved of
                                  said obligation by the Commissioner in writing. All Contractor
                                  policies and procedures regarding security shall be provided to
                                  the State via one (1} hard copy and one (1) electronic version
                                  (in Word if possible) on or before the Service Commencement
                                  Date. Said policies and procedures shall be in accordance with
                                  the Standards and subject to written approval by the State prior
                                  to implementation. Contractor shall comply with said policies
                                  and procedures during the term of this Contract. All Inmate
                                  program activities in accordance with the Standards shall take
                                  place within the Facility. No Inmate shall leave the Facility
                                  except under security escort unless provided for by Department
                                  policy.

                          2.      At a minimum, the Contractor shall provide security, perimeter
                                  control, Facility control, control center function , post orders,
                                  security patrols, security inspections, counting procedures, key
                                  control, procedure for search and control of contraband, tool
                                  control, escape plan detection, appropriate use of security
                                  equipment, use of restraints, use of firearms and chemical
                                  agents, tactical unit procedure, inspections, housing unit
                                  assignment plans and internal and external movement control
                                  procedures and periodic shakedowns. Security procedures will
                                  be in compliance with Departmental policy when applicable.

                     R.   Visitation. Contractor shall designate physical space and provide
                          appropriate security and supervision for indoor visitation in accordance
                          with applicable Standards, no less frequently than at comparable
                          Department facilities. Contractor shall furnish State with a written
                          attorney visitation policy via one (1) hard copy and one {1) electronic
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                          version (in Word if possible) no later than the Service Commencement
                          Date.

                     S.   Access to Courts. Contractor shall provide Inmates with constitutionally
                          required access to the courts as required by the Standards.

                     T.   Inmate Discipline.

                          1.      The Contractor shall implement Department Inmate disciplinary
                                  rules and procedures as they may be amended by the
                                  Department.

                          2.      All disciplinary processes and board activities must strictly
                                  adhere to Department Policies 502.01, 502.02, 502.04, and
                                  502.05.

                          3.      Contractor agrees that no Inmate will be disciplined except in
                                  accordance with this Section and the Standards.

                          4.      The Contractor shall use the present or any future system
                                  established by the Department for recording disciplinary
                                  information.

                     U.   Use of Force.

                          1.      The Contractor shall comply with Departmental Policies on the
                                  use of force. Any Internal policies and procedures and revisions
                                  thereto shall be in accordance with the Standards and subject
                                  to written approval by the State.

                          2.      Notwithstanding any provision contained herein to the contrary,
                                  no use of force shall be allowed by Contractor except as in
                                  accordance with the Standards.

                          3.      Contractor's employees shall be allowed to use force only

                                  a.      while on the grounds of the Facility;

                                  b.      while transporting Inmates;

                                  c.      during periods of community hospitalization;

                                  d.      during court proceedings;

                                  e.      while pursuing escapees from the Facility if the
                                          Commissioner requests said pursuit; and

                                  f.      while supervising Inmates away from the Facility and
                                          then only in accordance with the policies and
                                          procedures described in (1) and (2) above.

                          4.      Contractor's employees shall be authorized to use such non·
                                  deadly force as the circumstances require only in the following
                                  situations:

                                  a.      to prevent the commission of a felony or misdemeanor,
                                          including escape;


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                                  b.      to defend themselves or others against physical
                                          assault;

                                  c.      to prevent serious damage to property;

                                  d.      to enforce institutional regulations and orders; and

                                  e.      to prevent or quell a riot or disturbance.

                          5.      Contractor's employees shall be authorized and trained to use
                                  deadly force in accordance with TDOC Policy 506.08 and the
                                  Standards. The Contractor's employees authorized to use
                                  firearms must at a minimum meet the qualifications set forth in
                                  T.C.A. 62-35-117. Deadly force may be used only as a last
                                  resort and then may be used only to prevent escape, to prevent
                                  the loss of life or serious bodily harm, or to quell a rebellion, riot,
                                  or disturbance in which loss of life or serious injury to an
                                  individual · is imminent. Only those employees who are
                                  appropriately trained, and, if applicable, authorized by Jaw shall
                                  be aut~orized to carry and use firearms.

                     V.   Sentence Reduction Credits.

                          1.      Sentence credits shall be handled in accordance with TDOC
                                  Policy 505.01.

                          2.      The decision on award or forfeiture of sentence credits remains
                                  solely with the Department.

                     W.   Sentence Computation. Contractor shall provide the State with essential
                          data and information relating to sentence computation. All sentence
                          computations, including calculation of Inmate release and parole dates,
                          shall be done by the Department and copies furnished to Contractor
                          and Inmates. All other record keeping functions (e.g. posting of
                          disciplinary reports, filing, updating Inmate assignments, custody levels,
                          etc.) are the responsibility of the Contractor.

                     X.   Records and Reports.

                          1.       Contractor shall provide for comprehensive operations and
                                   Inmate record and reporting systems for the Facility in
                                   compliance with the Standards and Department policy
                                   including the automated Inmate records and reporting system
                                   operated by the Department which shall include but not be
                                   limited to the following:

                                   a.    Inmate institutional records on each Inmate including,
                                         but not limited to, personal data, personal inventory
                                         receipts, disciplinary action reports, incident reports,
                                         release information, classification and counseling
                                         records, dental, psychiatric and medical records.

                                   b.    Documentation        regarding     complaints    against
                                         Contractor's staff, the number and nature of violent or
                                         other disruptive incidents among Inmates or against
                                         staff, the number and nature of disciplinary actions
                                         against staff, the rate at which Inmates complete
                                         programs successfully, the number of Inmates
                                         productively active and the level of production;
                                                                                                     23




                                                                CCI 000956
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                                    c.   identification of all Inmates at the Facility and their actual
                                         assigned physical location within the Facility;

                                    d.   identification of Facility staff and other authorized
                                         persons who have direct access to Inmate records; and

                                    e.   provision of all reports requested by the State in writing
                                         for monitoring or evaluation of the Contract or any court-
                                         ordered compliance.

                               The system shall          adhere     to    the   Standards governing
                               confidentiality.

                          2.   The Contractor shall maintain permanent logs in addition to shift
                               reports that record routine and emergency situations. Each shift
                               shall maintain records of pertinent information regarding
                               individual Inmates and groups of Inmates. These records shall
                               be compiled daily and reviewed by appropriate supervisory
                               staff.

                          3.   The Contractor will be responsible for bearing the actual cost of
                               purchasing computers as well as the network charges. The
                               TDOC Information Technology Division who will supply
                               Contractor with the appropriate specifications. The Contractor
                               will submit the computers to TDOC for imaging prior to
                               installation on the network.

                          4.   Contractor will be required to incorporate into its operation all
                               new systems developed to report and track Inmate record
                               information designated by the Commissioner.

                          5.   Upon request, all records, reports and documents will be made
                               available immediately to the Contract Liaison for review. At the
                               conclusion of the Contract, all records shall be turned over to
                               the Department.

                          6.   The Contractor shall prepare and submit to the Contract Liaison
                               such reports as are required by the State. Unless otherwise
                               notified in writing by the Contract Liaison, these reports include
                               the following which must be submitted on a monthly basis:

                               a.         Unusual Occurrence Reports

                               b.         Incident Reports

                               c.         Disciplinary Reports

                               d.         Medical Summaries

                               e.         Program Activity Summaries

                               f.         Inmate Grievances

                               g          Facilities Maintenance         and    Repair   and   Related
                                          Operations

                          7.   Contractor shall promptly notify the Contract Liaison whenever
                               an Inmate leaves the Facility on court order.
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                                                                CCI 000957
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                     Y.   Escapes.

                          1.     The Contractor shall exercise its best efforts to prevent escapes
                                 from the Facility. If the frequency of escapes or attempted
                                 escapes shall be in excess of the frequency of escapes or
                                 attempted escapes from comparable State facilities without
                                 good cause or shall exhibit a disregard for the safety of the
                                 general public, the State may declare the Contractor in Breach
                                 pursuant to Section E.14. Said determinations shall be within
                                 the sole judgment of the Commissioner.

                          2.     In the event of an escape resulting in whole or part from
                                 Contractor's failure to perform pursuant to the provisions of this
                                 Contract, the State may seek damages in a court of competent
                                 jurisdiction.

                     Z.   Post Orders.

                          1.     Contractor shall develop and submit to the State, as soon as
                                 each is available, but no later than sixty (60) days prior to the
                                 Service Commencement Date, one (1) hard copy and one (1)
                                 electronic version (In Word if possible), of the Post Orders
                                 required by this Contract In compliance with the Standards.

                          2.     Post Orders shall be by post and shift and shall include Post
                                 Orders for all security positions.

                    AA.   Policy Audit. The Contractor shall be inspected or audited at least
                          annually In accordance with TDOC Policy 103.07 with respect to the
                          implementation of at least those policies and procedures listed in
                          Appendix C. The Contractor may, in addition and at its own expense,
                          elect to have a policy audit conducted using personnel independent
                          from the Contractor. The implementation will be in compliance with
                          Tennessee Department of Correction Policies 103.07 and the
                          Contractor will respond as required. In the event an audit reveals a
                          Breach, as defined in E.14, by the Contractor, the State shall have
                          available the remedies set out in Section E.14.

                    BB.   Inmate Work.

                          1.     The Contractor shall establish work programs in accordance
                                 with the Standards.

                          2.     Inmate work is subject to the written approval of the
                                 Commissioner pursuant to T.C.A. 41-24-110 or as the same
                                 may be modified or amended in the future.

                          3.     Any minimum restricted or higher custody Inmate working
                                 outside the secured perimeter must be under armed
                                 supervision.

                                 The specific location of inmates working outside the secure
                                 perimeter must be documented on the gate pass.

                          4.     The Contractor will be allowed to use Inmate labor for Facility
                                 operations and maintenance to the same extent Inmate labor is
                                 utilized in other State facilities pursuant to State policy and not
                                 for the benefit of the Contractor. The Contractor shall submit
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                                                                CCI 000958
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                                   Inmate job descriptions for the State's written approval before
                                   assigning jobs to Inmates. Submission of job descriptions shall
                                   be by the method designated by the State. Job assignments
                                   and re-assignments shall be made by the Contractor only after
                                   the job description has been approved in writing by the State.
                                   No Inmate shall ever be placed in a position of authority or
                                   control over another.

                           5.      In emergency situations, the Department, in its sole discretion,
                                   may require the Contractor to furnish Inmates and security for
                                   outside work crews. Labor costs of security services associated
                                   therewith shall be reimbursed at the Contractor's actual cost,
                                   plus expenses and cost of operation.

                           6.      Inmates shall not perform services or produce goods for use
                                   outside the Facility except upon written consent of the
                                   Commissioner.

                           7.      The Department shall provide Inmates with sentence reduction
                                   credits. The Contractor shall be responsible for establishing and
                                   administering a compensation program at its expense, which
                                   will include Inmate pay in compliance with the Standards.

                     CC.   Vocational and Academic Education. Contractor shall furnish vocational
                           and academic education as set forth in the Standards and according to
                           TDOC policy at its expense.

                     DO.   Classification.

                           1.      Contractor shall comply with Departmental policies regarding
                                   classification and reclassification services.

                           2.      Contractor shall be required to maintain classification
                                   information which conforms to the Department's system.

                     EE.   Inmate Tryst Fund. The Contractor will be responsible for maintaining
                           an inmate trust fund following Department procedures including those
                           relating to deposits and withdrawals for payment of court costs, privilege
                           taxes, and Criminal Injuries Compensation Fund requirements, as well
                           as other applicable fees and deductions. All commissions from trust
                           fund deposits will be paid to the State in conformance with the terms of
                           the inmate trust fund automation contract.

                     FF.   Sanitation and Hyajene. The Contractor shall provide for sanitation and
                           hygiene in accordance with the Standards.

                     GG.   Computer Software. The State shall retain proprietary rights to all State
                           provided software utilized in connection with this Contract.

                     HH.   Inmate Drug Testing. The Contractor will conduct drug tests in
                           accordance with Departmental Policy 506.21 and 513.07. The
                           Contractor will be responsible for all costs. All positive drug screens
                           shall be confirmed through a second methodology. The selection of
                           Inmates to be tested at random will be the responsibility of TDOC
                           (State).

                     II.   Assumption of Control.


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                            1.      Trousdale County shall review and comment on the
                                    Department's plan for assumption of control within fifteen (15)
                                    days following its receipt by Trousdale County. The plan will
                                    provide for the orderly transfer of Inmates from Trousdale
                                    County to the Department under conditions of termination.
                                    Trousdale County agrees to implement said plan upon written
                                    notice from the Commissioner.

                            2.      Said plan will also provide for emergency assumption of control
                                    by the Department of whole or part of the Facility under
                                    conditions of natural disaster, in the event of riot or insurrection
                                    or other emergency circumstances wherein the Commissioner
                                    deems it necessary for the State to assume temporary control
                                    of the Facility. The Commissioner shall determine whether and
                                    to what extent an emergency circumstance exists in his sole
                                    discretion.

                                    The plan shall address Trousdale County's resumption of
                                    control after the circumstances causing the emergency
                                    assumption has ended. The plan will provide for the transfer of
                                    all records to the Department.

                     JJ .   Accreditation . The Contractor shall obtain, maintain and retain, at its
                            expense, ACA accreditation of the Facility. Such accreditation shall be
                            obtained within three years of the Service Commencement Date.

                     KK.    Inmate and Staff Identification. Contractor shall comply with the
                            procedures in the Standards for Inmate and staff identification Including
                            but not limited to, uniforms, fingerprinting and photographing.

                     LL.    Inmate Personal Property Scace. Contractor shall follow Department
                            policy on Inmate personal property.

                     MM.    Library. A general Inmate library will be provided and operated by
                            Contractor in accordance with the Standards.

                     NN.    Volunteer Services. Contractor shall implement volunteer service
                            programs in accordance with the Standards and TDOC policy. At a
                            minimum, the Contractor shall provide for supervision and monitoring of
                            the program and security background checks for volunteer applicants.
                            Contractor shall establish and maintain a Local Volunteer Advisory
                            Board.

                     00.    Release Payments for Inmates. The Contractor shall follow
                            Departmental policy regarding transportation for discharged Inmates
                            and discharge payments to said Inmates. The Contractor shall make
                            such payments at its own expense without reimbursement from the
                            State.

                     PP.    Space for Board of Parole/Institutional Parole Officer. Contractor shall
                            provide a hearing room for the Board of Parole two (2) days per month
                            or as otherwise requested by the Board. The hearing room shall be
                            large enough to comfortably accommodate three (3) Board members
                            and fifteen (15) visitors. The Contractor shall provide local and long
                            distance telephone service and furniture for the hearing room. The
                            Contractor shall also provide furnished office space five (5) days each
                            month, or as otherwise requested by the Department Institutional
                            Probation and Parole Officer.

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                                                                CCI 000960
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                          QQ      Rehabilitative Services. The Contractor shall provide rehabilitative
                                  services in accordance with the Standards. Such services shall include,
                                  but not be limited to counseling, pre-release and transitional services.

                          RR.     Post-Conviction Actions. The State will defend any post-conviction
                                  action, including appeals and writs of habeas corpus, by any Inmate
                                  challenging the underlying judgment of conviction or the administration
                                  of the sentence imposed.

                          SS.     legal Actions Against Contractor, Agents and Employees. The State is
                                  not obligated to provide legal representation for any non-state employee
                                  or official in any litigation arising from or based on this Contract,
                                  including but not limited to post-conviction actions, or any actions
                                  brought under the United States Constitution or the Federal Civil Rights
                                  Act.

                          TT.     Incorporation by Reference.     All plans, manuals and procedures
                                  required by this Contract to be submitted by Trousdale County to the
                                  State are made a part of this Contract upon approval by the State and
                                  all such plans, manuals and procedures are incorporated herein by
                                  reference


      A.4.   STAFFING/EMPLOYEES:

             a.   Independent Contractor. Contractor is associated with the State only for the purposes
                  and to the extent set forth in this Contract. With respect to the performance of the
                  management services set out herein, Contractor is and shall be an independent
                  Contractor. The Contractor's agents and employees shall not accrue leave, retirement,
                  insurance, bonding, use of State vehicles or any other benefit afforded to the employees
                  of the State as a result of this Contract. Contractor, its agents and employees shall not
                  be considered agents or employees of the State.

             b.   Executive Officer. The Facility and its programs shall be managed by a single executive
                  officer employed by the Contractor (sometimes referred to herein as "Warden"). The
                  executive officer shall be subject to the prior written approval of the State.

             c.   Personnel. Notwithstanding any provision contained herein to the contrary, Trousdale
                  County shall provide adequate staff to fulfill its obligations under this Contract, which
                  shall be at a minimum the number of staff required by the State. All vacancies shall be
                  filled in forty- five (45) days; provided, however, that during the period of any vacancy,
                  the services associated with said position shall be provided by Contractor unless the
                  Commissioner has agreed in writing to the contrary with a reduction in the per diem rate
                  as defined in Section C.11. The Contractor may request a thirty (30) day extension of
                  the forty-five (45) day time limit to fill a vacancy. The Commissioner may grant this
                  request on a one time basis for each applicable position . The Contractor must specify
                  the position number of each extension request. The Contractor staff turnover ratio for
                  security personnel shall not exceed fifty percent (50%) annually as of each June 30.

             d.   Job Descriptions.

                  1.      Trousdale County shall provide as part of the operations plan required by
                          Section A.3.b.11.D., written job descriptions for each position in the staffing
                          pattern including but not limited to job title, responsibility and required minimum
                          experience and education.

                  2.      Any revisions or modifications of the job descriptions require the prior written
                          approval of the State.

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           e.   Personnel Records. A personnel record shall be maintained for each employee at the
                Facility which at a minimum shall contain the following: application, background
                investigation, dates of employment, training, performance evaluations, and disciplinary
                actions. The Contractor shall obtain a signed statement from each employee authorizing
                the State to have access to the personnel record.

           f.   Staffing Reports. On or before the fifteenth (151h) day of each month, Trousdale County
                shall submit a report to the Liaison(s) providing the following information:

                1.      the name of employees hired, indicating position;

                2.      the name of each employee whose employment has been terminated for
                        whatever reason whether voluntarily or involuntary (including reason for
                        termination), and position.

                3.      whether any position on the staffing pattern was vacant and for how many days.


          g.    Reduction in Staff.

                1.      Contractor shall immediately notify the Liaison if any positions on the staffing
                        pattern are vacant.

                2.      If a position described in subsection 1) remains vacant in excess of the time
                        allowed in A.4.c., then the State shall have the option of exercising the remedies
                        available in Section E.14.


           h.   Staffing Pattern/Security Post Assignment.

                1.      Trousdale County shall implement a staffing pattern approved by the State in
                        writing.

                2.      Trousdale County shall implement a security post assignment schedule
                        approved in writing by the State. Said schedule shall detail by day and shift the
                        security positions and hours of work. Said security post assignment schedule
                        shall include designation of critical posts. Trousdale County shall also
                        implement a plan regarding the process for managing the security post
                        assignment schedule including but not limited to how the posts may be created
                        and/or eliminated.

                3.      During the Facility ramp-up, Trousdale County shall implement the staffing
                        pattern and post chart consistent with the ramp schedule attached as Appendix
                        G.


                4.      Trousdale County shall develop and submit to the Liaison on or before the
                                     1
                        fifteenth (15 h) of each month its written monthly post assignment schedule for
                        the following month.

                5.      Any revisions to the staffing pattern and/or security post assignment require the
                        prior written approval of the State. Trousdale County shall submit monthly
                        staffing reports on or before the fifteenth (151h) of each month describing for the
                        preceding month whether and to what extent Trousdale County has complied
                        with the staffing pattern, security post assignment, and monthly post
                        assignment. Staffing patterns are determined by security and program
                        requirements and associated workloads. If changed circumstances modify those
                        requirements or workloads Trousdale County and/or the State will review those
                        changed circumstances and the State in its sole discretion will determine
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                        whether any changes in staffing requirements are necessary. If the change in
                        staffing requirements is made necessary by a change in an applicable Standard,
                        the provisions of C.11 apply.


          i.    Background Checks.

                1.      Prior to completion of pre-service training, applicants shall be subjected to a
                        thorough background investigation, including criminal, employment, and medical
                        histories. The background investigation for applicants for correctional officer
                        positions shall also include psychological history, and such applicants shall be
                        required to be certified by a qualified mental health professional as being free
                        from any disorder as described, in the current edition of the Diagnostic and
                        Statistical Manual of Mental Disorders of the American Psychiatric Association
                        that would, in the professional judgment of the examiner, impair the subject's
                        ability to perform any essential function of the job or would cause the applicant
                        to pose a direct threat to safety. Criminal and employment histories must go
                        back a minimum of five {5) years. Said background investigations shall be
                        available to the State upon request. All criminal background checks shall be
                        completed according to TDOC Guidelines. The cost of the background checks is
                        the responsibility of Trousdale County.

                2.      A Security Addendum required by Title 28, Code of Federal Regulations Part
                        20, is appended hereto as Appendix B and incorporated by reference herein.
                        The security addendum shall be included in any subcontract for management of
                        the facility.

          j.    State Assistance in Training.

                1.      During the term of this Contract, Trousdale County shall send a representative
                        to participate in periodic meetings regarding departmental activities and shall
                        send a representative to sessions in which relevant policy modifications are
                        being discussed or presented.

               2.       Trousdale County shall receive written notice of the time, place and agenda of
                        the meetings or sessions described in subsection (a) at the same time State
                        employees are provided notice.

               3.       Said meetings or sessions shall be held within the State, and Trousdale County
                        shall bear any and all expense associated with its representative being present.

               4.       The Department shall supply Trousdale County with technical assistance,
                        consultation and informational support consistent with that provided other
                        comparable institutions in accordance with the Standards; provided, however,
                        said support shall consist solely of advice and consultation.

          k.   Training. Trousdale County shall provide orientation and training programs for all
               employees in accordance with the Standards. All costs incurred for said orientation and
               training programs shall be borne by Trousdale County. The Liaison(s) shall be permitted
               to review training curricula and other training-related records and to audit training
               classes at any time.

          I.   Drug Free Work Force. Trousdale County shall at all times maintain a drug free work
               force and shall implement a plan for maintenance of a drug free work force and the
               employee assistance program.

     B.   CONTRACT PERIOD:


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              The Contractor shall provide the services as described in this Contract for a period of five (5)
              years beginning on the Service Commencement Date. The Contractor hereby acknowledges
              and affirms that the State shall have no obligation for services rendered by the Contractor which
              were not performed within this specified contract period.

      C       PAYMENT TERMS AND CONDITIONS:

      C.1 .   Maximum LiabilitY. In no event shall the maximum liability of the State under this Contract
              exceed Two Hundred Seventy-Six Million, Two Hundred Ninety Thousand, One Hundred Dollars
              ($276,290,100}. The payment rates in section C.3 shall constitute the entire compensation due
              the Contractor for all service and Contractor obligations hereunder regardless of the difficulty,
              materials or equipment required. The payment rates include, but are not limited to, all applicable
              taxes. fees, overheads, and all other direct and indirect costs incurred or to be incurred by the
              Contractor.

              The Contractor is not entitled to be paid the maximum liability for any period under the Contract
              or any extensions of the Contract for work not requested by the State. The maximum liability
              represents available funds for payment to the Contractor and does not guarantee payment of
              any such funds to the Contractor under this Contract unless the State requests work and the
              Contractor performs said work. In which case, the Contractor shall be paid in accordance with
              the payment rates detailed in section C.3. The State is under no obligation to request work from
              the Contractor in any specifiC dollar amounts or to request any work at all from the Contractor
              during any period of this Contract.

      C.2.    Compensation Firm. The payment rates and the maximum liability of the State under this
              Contract are firm for the duration of the Contract and are not subject to escalation for any reason
              unless amended.

      C.3.    Payment Methodology. The Contractor shall be compensated based on the payment rates
              herein for units of service authorized by the State in a total amount not to exceed the Contract
              Maximum Liability established in section C.1 .

              a.      The Contractor's compensation shall be contingent upon the satisfactory completion of
                      units, milestones, or increments of service defined in section A.

              b.      Operating Per Diem Payments.

                      The State shall make Operating Per Diem Rate payments to Trousdale County based
                      on the greater of the number of inmates actually at the Facility or 90% of the 2552 beds
                      (or the number of beds available pursuant to section C.3.b(2)), provided, however, that
                      during the ramp period the State agrees to pay the Operating Per Diem Rate based on
                      the greater of the number of inmates actually at the Facility or 90% of the beds available
                      pursuant to the ramp schedule attached as Appendix G. If the 2552 beds are not
                      available on the Service Commencement Date, the State shall not be obligated to make
                      the Operating Per Diem Rate payments to the County pursuant to this section until such
                      beds are available. If the beds are available and the State does not assign Inmates to
                      the Facility, the State shall be obligated to make the Operating Per Diem Rate payments
                      to the County pursuant to this section

                      ( 1)    Beginning on the Service Commencement Date and continuing for one year
                              thereafter, the Operating Per Diem Rate shall be $58.76 per Inmate Day.

                              Each year, on the anniversary of the Service Commencement Date, the
                              Operating Per Diem Rate shall increase by 2.5%.

                      (2)     Beginning on the Service Commencement Date, Trousdale County shall make
                              available 2,552 beds. The State may change the number of State Bed Days that
                              Trousdale County makes available to it from time to time by giving Trousdale
                              County 180 days advance written notice of the change. The State may lower or
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                            raise the State Bed Days in its sole discretion, for any reason or no reason
                            including, but not limited to, the State's dissatisfaction with any management
                            subcontract. Notwithstanding any provisions herein to the contrary, Trousdale
                            County shall make available to the State all or part of the Facility's capacity
                            upon notice described herein and shall enter into no agreement to the contrary.

                    (3)     Any beds not required to be made available to the State by this Contract may be
                            filled with Inmates from other jurisdictions. Such Inmates shall be kept
                            completely separate in all assignments including, but not limited to, housing and
                            programming assignments. Trousdale County shall notify the Commissioner of
                            the source and nature of inmates from other jurisdictions proposed to be housed
                            at the facility. Said notice shall be provided at least 30 days prior to receipt of
                            such inmates at the institution. Within ten (1 0) days of receipt of such notice, the
                            Commissioner shall notify Trousdale County of any objection to the proposal. If
                            Trousdale County decides to proceed with the housing of such inmates at the
                            Facility over such objection it shall so notify the Commissioner prior to receipt of
                            the inmates. The State shall have thirty (30) days from receipt of such notice to
                            change, at its discretion, the number of State Bed Days that Trousdale County
                            makes available to it. The State shall provide at least ten (10) days' notice of the
                            change in State Bed Days. The notice requirement is an exception to the 180-
                            day notice required by Section C.3.b.(2). If inmates from other jurisdictions are
                            housed at the facility, the State's Operating Per Diem Rate payments to
                            Trousdale County pursuant to section C.3.b. shall be based on the greater of
                            the number of Tennessee State Department of Correction Inmates actually at
                            the Facility or 90% of the beds available to the State.


                    (4)     No Operating Per Diem will be paid for Inmates housed and treated at a State
                            departmental Facility. Subject to the subsection (b) above, the Operating Per
                            Diem Rate payment will be made only for Inmates actually incarcerated at the
                            Facility, except the Operating Per Diem Rate payment shall be made for any
                            Inmate hospitalized at a non-State departmental Facility during the period when
                            the contractor is responsible for said hospitalization expense. No Operating Per
                            Diem shall be paid for any Inmate out to court.

                    (5)     Inmate Days and billings will be determined by the Midnight count of each day,
                            which count shall be periodically reviewed and signed by the Uaison{s).

            c.     Where applicable, payments under Section A.3.b.9.f. are allowed.

            d.      With the State's written approval, Trousdale County may designate in writing an entity to
                    receive payment on its behalf.

     C.4.   Travel Compensation. The Contractor shall not be compensated or reimbursed for travel, meals,
            or lodging.

     C.S.   Invoice Requirements. The Contractor shall invoice the State only for completed increments of
            service and for the amount stipulated in section C.3, above, and present said invoices no more
            often than monthly, with all necessary supporting documentation, to:

            TENNESSEE DEPARTMENT OF CORRECTION
            DIVISION OF BUDGET AND FISCAL SERVICES
            6TH FLOOR RACHEL JACKSON BUILDING
            320 6TH AVENUE NORTH
            NASHVILLE, TENNESSEE 37243-0465

            a.     Each invoice shall clearly and accurately detail all of the following required information
                   {calculations must be extended and totaled correctly).

                   (1)      Invoice Number (assigned by the Contractor)
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                    (2)     Invoice Date
                    (3)     Contract Number (assigned by the State)
                    (4)     Customer Account Name: TENNESSEE DEPARTMENT OF CORRECTION,
                            ACCOUNTS PAYABLE
                    (5)     Customer Account Number (assigned by the Contractor to the above-referenced
                            Customer)
                    (6)     Contractor Name
                    (7)     Contractor Tennessee Edison Registration ID Number Referenced in Preamble
                            of this Contract
                    (8)     Contractor Contact for Invoice Questions (name, phone, and/or fax)
                    (9)     Contractor Remittance Address
                    (10)    Description of Delivered Service
                    (11)    Complete Itemization of Charges, which shall detail the following:

                            i.      Service or Milestone Description (including name & title as applicable)
                                    of each service invoiced
                            ii.     Number of Completed Units, Increments, Hours, or Days as applicable,
                                    of each service invoiced
                            iii.    Applicable Payment Rate (as stipulated in Section C.3.) of each service
                                    invoiced
                            iv.     Amount Due by Service
                            v.      Total Amount Due for the invoice period

            b.      The Contractor understands and agrees that an invoice under this Contract shall:

                    (1)     include only charges for service described in Contract Section A and in
                            accordance with payment terms and conditions set forth in Contract Section C;
                    (2)     only be submitted for completed service and shall not include any charge for
                            future work;
                    {3)     not include sales tax or shipping charges; and
                    {4)     initiate the timeframe for payment {and any discounts) only when the State is in
                            receipt of the invoice, and the invoice meets the minimum requirements of this
                            section C.5.

     C.6.   Payment of Invoice. A payment by the State shall not prejudice the State's right to object to or
            question any payment, invoice, or matter in relation thereto. A payment by the State shall not be
            construed as acceptance of any part of the work or service provided or as approval of any
            amount invoiced. If the amount to be paid the Contractor is disputed by the State, then the State,
            on or before the date the invoice is payable, shall advise the Contractor of the basis for the
            dispute and pay the amount of such invoice which is not in dispute.

     C.7.   Invoice Reductions. The Contractor's invoice shall be subject to reduction for amounts included
            in any invoice or payment theretofore made which are determined by the State, on the basis of
            audits conducted in accordance with the terms of this Contract, not to constitute proper
            remuneration for compensable services.

     C.B.   Deductions. The State reserves the right to deduct from amounts, which are or shall become
            due and payable to the Contractor under this or any contract between the Contractor and the
            State of Tennessee any amounts, which are or shall become due and payable to the State of
            Tennessee by the Contractor.

     C.9.   Prerequisite Documentation. The Contractor shall not invoice the State under this Contract until
            the State has received the following documentation properly completed.

            a.      The Contractor shall complete, sign, and present to the State an "Authorization
                    Agreement for Automatic Deposit (ACH Credits) Form" provided by the State. By doing
                    so, the Contractor acknowledges and agrees that, once said form is received by the
                    State, all payments to the Contractor, under this or any other contract the Contractor has
                    with the State of Tennessee shall be made by Automated Clearing House (ACH).
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               b.      The Contractor shall complete, sign, and present to the State a "Substitute W-9 Form"
                       provided by the State. The taxpayer identification number detailed by said form must
                       agree with the Contractor's Federal Employer Identification Number or Tennessee
                       Edison Registration ID referenced in this Contract.


     C.10.     Compensation Adjustment for Change of Services.

               a.       The parties recognize that each has entered into this Contract based upon the
                        Standards in effect as of Effective Date of Contract. Trousdale County agrees to be
                        bound by any applicable Standard change and said change shall not affect the validity
                        of this Contract. If a change occurs in the applicable Standard, either party may notify
                        the other in writing if it is believed said change shall affect the services delivered by
                        Trousdale County. The Commissioner shall make the final, binding decision regarding
                        whether a change has occurred in an applicable Standard and whether said change
                        affects the services rendered by Trousdale County. Any adjustment in the Operating
                        Per Diem Rate due Trousdale County shall be determined in accordance with
                        subsection (c) .

              b.       In the event Contractor may receive payments or compensation of any nature for
                       services it is obligated to perform under this Contract from any source, including but not
                       limited to federal, state or local authority, or any third party, other than the compensation
                       described in this Contract, Contractor shall receive prior written consent and direction
                       from the State prior to receiving any such additional compensation . The State may
                       withhold a comparable amount from any payments due the Contractor. In the event said
                       additional compensation is used to provide enhanced or innovative services at the
                       Facility as compared to the services provided by the Department at comparable
                       facilities, Contractor must still receive prior written consent from the State prior to
                       receiving said compensation before the contractor may retains those funds. The
                       Commissioner shall decide whether the funds will be used to provide enhanced or
                       innovative services at the Facility.

               c.      Within thirty (30) days of the notice required in subsections {a) and (b) above, Trousdale
                       County shall provide the State with the proposed adjustment in the Operating Per Diem
                       Rate and appropriate documentation In support thereof. The Commissioner shall decide
                       whether and to what extent an adjustment in the Operating Per Diem Rate is
                       appropriate. In the event the Commissioner determines that an adjustment in the
                       Operating Per Diem Rate is appropriate, the rate may only be revised by an appropriate
                       amendment to this Contract as described in Section D.2.

     C.11 .    Failure to Agree on Billing Disoute or for Additional or Reduced Services.

               a.      In the event Trousdale County disagrees with the State's failure to pay a disputed
                       amount under Section C.7, disagrees with the determination of the Commissioner
                       regarding whether and to what extent an adjustment in the Operating Per Diem for
                       change in services is appropriate under Section C. 11, disagrees with the
                       Commissioner's determination under Section A.3.b.9.f., or disagrees with any other
                       aspect or amount of payment made by the State then Trousdale County shall submit a
                       claim and the grounds for said disagreement in writing to the Commissioner within thirty
                       {30) days of the date the State either makes partial payment of the disputed bill or
                       refuses the disputed bill in its entirety. Failure of Trousdale County to submit said claim
                       and grounds to the Commissioner in writing within the time period described herein shall
                       be an absolute waiver of said claim. The State shall be afforded a sixty {60) day period
                       in which to effect a cure or take reasonable steps to effect a cure, if it deems a cure
                       appropriate.

              b.       In the event Trousdale County timely provides the notice described in subsection (a),
                       then Trousdale County may file a claim against the State before the appropriate forum in
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                      Tennessee with jurisdiction to hear said claim. Failure by Trousdale County to file a
                      claim before the appropriate forum in Tennessee with jurisdiction to hear said claim
                      within one year of the notice described in subsection (a) shall operate as a waiver of
                      said claim in its entirety. It is agreed by the parties that this provision establishes a
                      contractual period of limitations for any claim brought by Trousdale County. Neither this
                      Section nor any other provision of this Contact creates or expands jurisdiction of any
                      court or commission over the State.

      C.12.   Failure to Pay Health Care Providers. Trousdale County shall be responsible for making
              payments to the hospital utilized by the State's Primary Health Care Contractor and to
              physicians providing services at such hospital within ninety (90) days of the invoice date for
              services to any Inmate assigned to the Facility for which Trousdale County is financially
              responsible under the provisions of Section A.3.b.11.G, provided such charges are not being
              disputed by Trousdale County. When any such undisputed debt is more than ninety (90) days
              old, the State reserves the right to pay the provider and deduct the amount from payments due
              from the State to Trousdale County hereunder.

     D.       STANDARD TERMS AND CONDITIONS:

      0.1.    Required Approvals. The State is not bound by this Contract until it is signed by the contract
              parties and approved by appropriate officials in accordance with applicable Tennessee laws and
              regulations (depending upon the specifics of this contract, said officials may include, but are not
              limited to, the Commissioner of Finance and Administration, the Commissioner of Human
              Resources, and the Comptroller of the Treasury).

     D.2.     Modification and Amendment. This Contract may be modified only by a written amendment
              signed by all parties hereto and approved by both the officials who approved the base contract
              and, depending upon the specifics of the contract as amended, any additional officials required
              by Tennessee laws and regulations (said officials may include, but are not limited to, the
              Commissioner of Finance and Administration, the Commissioner of Human Resources, and the
              Comptroller of the Treasury).

     D.3.     Termination for Convenience. The State may terminate this Contract at any time after the first
              year following the Service Commencement Date without cause for any reason. Said termination
              shall not be deemed a breach of contract by the State. The State shall give the Contractor at
              least ninety (90) days written notice before the effective termination date. The Contractor shall
              be entitled to compensation for satisfactory, authorized service completed as of the termination
              date, but in no event shall the State be liable to the Contractor for compensation for any service
              which has not been rendered. Upon such termination, the Contractor shall have no right to any
              actual general, special, incidental, consequential, or any other damages whatsoever of any
              description or amount.

     D.4.     Termination for Cause. If the Contractor fails to properly perform its obligations under this
              Contract in a timely or proper manner, or if the Contractor violates any terms of this Contract, the
              State shall have the right to immediately terminate the Contract and withhold payments in
              excess of fair compensation for completed services. Notwithstanding the above, the Contractor
              shall not be relieved of liability to the State for damages sustained by virtue of any breach of this
              Contract by the Contractor.

     D.5.     Subcontracting.

              a.      It is acknowledged and agreed by the State and Trousdale County that the duties and
                      the obligations of Trousdale County hereunder may be performed in whole and/or in part
                      from time to time by subcontractors. Any performance by a subcontractor shall
                      constitute and be deemed performance by Trousdale County hereunder, provided;
                      however, performance by a subcontractor shall not release Trousdale County of its
                      obligation hereunder. It is understood that Trousdale County intends to contract with a
                      prime subcontractor to manage the prison. Trousdale County shall deliver a copy of said
                      contracts to the State within 60 days of the execution of this Contract. Trousdale County
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